JS 44 (Rev. 06/17)

Case: 3:18-cv-00109-JOG hac éovern Sap eye? 1 of 3. PagelD #: 23

The JS 44 civil cover sheet and the information contained herein ncither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS

Amy C. Custer
3122 Hopewell Place, Toledo, OH 43606

(b) County of Residence of First Listed Plaintiff Lucas
(EXCEPT IN U.S. PLAINTIFF CASES)

c) Att Fir e, Adglress, e 2 Number
Fide HAS eer eae AGRE Hlstees H#"E. Shoreline Drive,
Sandusky, OH 44870, 419-624-3011
See attachment for co-counsel.

DEFENDANTS

NOTE:

Attorneys ({f Known)

 

National Board of Medical Examiners, Inc.

County of Residence of First Listed Defendant

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

II. BASIS OF JURISDICTION (Place an “X" in One Box Only)

oO} 3 Federal Question

(U.S. Government Not a Party)

U.S. Government
Plaintiff

0 2 U.S, Government
Defendant

04 = Diversity
(Indicate Citizenship of Parties in Item Ll)

 

IV. NATURE OF SUIT (Place an “X” in One Box Only)

(For Diversity Cases Only)

Tl. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff

and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State x i O | Incorporated or Principal Place oO 4 o4
of Business In This State
Citizen of Another State O 2 © 2 Incorporated and Principal Place go5 05
of Business In Another State
Citizen or Subject of a 43 OO 3. Foreign Nation go6 16

Foreign Country

Click here for: Nature of Suit Code Descriptions.

 

 

 

 

 

 

 

 

 

 

 

 

l CONTRACT “TORTS FOREFEITURE/PENALTY. BANKRUPTCY OTHER STATUTES. |
1 110 Insurance PERSONAL INJURY PERSONAL INJURY {| 625 Drug Related Seizure O 422 Appeal 28 USC 158 (9 375 False Claims Act
O 120 Marine O 310 Airplane O 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal 0 376 Qui Tam (31 USC
130 Miller Act @ 315 Airplane Product Product Liability © 690 Other 28 USC 157 3729(a))
© 140 Negotiable Instrument Liability O 367 Health Care/ [1 400 State Reapportionment
(1 150 Recovery of Overpayment | 07 320 Assault, Libel & Pharmaceutical LS PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury (7) 820 Copyrights © 430 Banks and Banking
1 151 Medicare Act (1 330 Federal Employers’ Product Liability (J 830 Patent 0 450 Commerce
0 152 Recovery of Defaulted Liability 0 368 Asbestos Personal © 835 Patent - Abbreviated 0 460 Deportation
Student Loans © 340 Marine Injury Product New Drug Application {0 470 Racketeer Influenced and
(Excludes Veterans) CJ 345 Marine Product Liability O 840 Trademark Corrupt Organizations
1 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR. SOCIAL SECURITY: ( 480 Consumer Credit
of Veteran’s Benefits (7 350 Motor Vehicle 1 370 Other Fraud © 710 Fair Labor Standards O 861 HIA (1395ff) f 490 Cable/Sat TV
160 Stockholders’ Suits © +355 Motor Vehicle © 371 Truth in Lending Act O 862 Black Lung (923) CF 850 Securities/Commodities/
GC 190 Other Contract Product Liability O 380 Other Personal 0 720 Labor/Management 0 863 DIWC/DIWW (405(g)) Exchange
O 195 Contract Product Liability | 360 Other Personal Property Damage Relations (J 864 SSID Title XVI (J 890 Other Statutory Actions
(1 196 Franchise Injury 385 Property Damage ( 740 Railway Labor Act [ 865 RSI (405(g)) C 891 Agricultural Acts
7 362 Personal Injury - Product Liability 1 751 Family and Medical () 893 Environmental Matters
Medical Malpractice Leave Act © 895 Freedom of Information
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS. [7 790 Other Labor Litigation “oe FEDERAL -TAX SUITS Act
© 210 Land Condemnation 0 440 Other Civil Rights Habeas Corpus: 0 791 Employee Retirement (I 870 Taxes (U.S. Plaintiff 896 Arbitration
© 220 Foreclosure O 441 Voting O 463 Alien Detainee Income Security Act or Defendant) ( 899 Administrative Procedure
O 230 Rent Lease & Ejectment O 442 Employment © 510 Motions to Vacate 0 871 IRS—Third Party Act/Review or Appeal of
0 +240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 Agency Decision
O 245 Tort Product Liability Accommodations 1 530 General C1 950 Constitutionality of
290 All Other Real Property J 445 Amer. w/Disabilities -] J 535 Death Penalty IMMIGRA FION= State Statutes
Employment Other: (1 462 Naturalization Application
$K 446 Amer. w/Disabilities -| 540 Mandamus & Other | 465 Other Immigration
Other O 550 Civil Rights Actions
(7 448 Education O 555 Prison Condition
( 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Place an “X" in One Box Only)

2 Removed from
State Court

© 3  Remanded from o4

i Original
Appellate Court

Proceeding

VI. CAUSE OF ACTION

Brief description of cause:

 

Reinstated or
Reopened
(specify)

5 Transferred from
Another District

1 6 Multidistrict
Litigation -
Transfer

8 Multidistrict
Litigation -
Direct File

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):

42 U.S.C. §1201 et. seg, 29 U.S.C. §794
iViolation of ADA, 42 U.S.C. §1201et.seq. and 29 U.S.C. §794 (Section 504) failure to provide accommodations.

 

 

 

VIL. REQUESTED IN 1 CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Yes _S@{No
VIII. RELATED CASE(S)
IF ANY Gee msinnction)! nap f DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD #
1-16-2018 Oi

 

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP

JUDGE

HLA us Mantes
V 0

MAG. JUDGE
Case: 3:18-cv-00109-JGC Doc #: 1-1 Filed: 01/16/18 2 of 3. PagelD #: 24

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

Civil Categories: (Please check one category only).

 

1. |v] General Civil
2. Administrative Review/Social Security
3. Habeas Corpus Death Penalty

 

 

 

 

 

 

*\f under Title 28, §2255, name the SENTENCING JUDGE:

CASE NUMBER:

RELATED OR REFILED CASES. See LR 3.1 which provides in pertinent part: "If an action is filed or removed to this Court
and assigned to a District Judge after which it is discontinued, dismissed or remanded to a State court, and
subsequently refiled, it shall be assigned to the same Judge who received the initial case assignment without regardfor
the place of holding court in which the case was refiled. Counsel or a party without counsel shall be responsible for
bringing such cases to the attention of the Court by responding to the questions included on the Civil Cover Sheet.”

 

 

 

 

This action: is RELATED to another PENDING civil case [lis a REFILED case was PREVIOUSLY REMANDED

 

 

 

 

If applicable, please indicate on page 1 in section VIII, the name of the Judge and case number.

In accordance with Local Civil Rule 3.8, actions involving counties in the Eastern Division shall be filed at any of the
divisional offices therein. Actions involving counties in the Western Division shall be filed at the Toledo office. For the
purpose of determining the proper division, and for statistical reasons, the following information is requested.

ANSWER ONE PARAGRAPH ONLY. ANSWER PARAGRAPHS 1 THRU 3 INORDER. UPON FINDING WHICH
PARAGRAPH APPLIES TO YOUR CASE, ANSWER IT AND STOP.

(1) Resident defendant. If the defendant resides in a county within this district, please set forth the name of such
county

COUNTY:

Corporation For the purpose of answering the above, a corporation is deemed to be a resident of that county in which
it has its principal place of business in that district.

(2) Non-Resident defendant. If no defendant is a resident of a county in this district, please set forth the county
wherein the cause of action arose or the event complained of occurred.

COUNTY:

(3) Other Cases. If no defendant is a resident of this district, or if the defendant is a corporation not having a principle

place of business within the district, and the cause of action arose or the event complained of occurred outside
this district, please set forth the county of the plaintiff's residence.
COUNTY:

The Counties in the Northern District of Ohio are divided into divisions as shown below. After the county is
determined in Section Ill, please check the appropriate division.

EASTERN DIVISION

 

 

 

 

 

| AKRON (Counties: Carroll, Holmes, Portage, Stark, Summit, Tuscarawas and Wayne)
[| CLEVELAND (Counties: Ashland, Ashtabula, Crawford, Cuyahoga, Geauga, Lake,
Lorain, Medina and Richland)
YOUNGSTOWN (Counties: Columbiana, Mahoning and Trumbull)

 

 

 

WESTERN DIVISION

 

Y TOLEDO (Counties: Allen, Auglaize, Defiance, Erie, Fulton, Hancock, Hardin, Henry,
Huron, Lucas, Marion, Mercer, Ottawa, Paulding, Putnam, Sandusky, Seneca

VanWert, Williams, Wood and Wyandot)

 

 

 
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Civil Coversheet Attachment
I. (a) Plaintiff:
Amy C. Custer
(b) County: Lucas
(c) additional counsel:

Charles Weiner, Esq., Law Office of Charles Weiner, Cambria Corporate Center,
501 Cambria Avenue, Bensalem, PA 19020, 267-685-6311 (Pro Hac Pending)
